CaS€ 3212-CV-01352-B.]D-.]BT

MICMEL EUGENE LOVELL,

l’}aintiff,
vs.

Document 2 Filed 12/13/12 Page 1 of 5 Page|D 23

.'lN THE ClRCUlT COURT, FOURTH
JUDICIAI. CIR.CUI'I` lN AND FOR
DUW\L COUNTY, FLORlDf-'.

CASE NO.:
DIVISION:

3'_|2-@-|352'5*6\¢1|%¥“.|4'56"'

LARRY cumsLn®N WHLLIAMS ama
lamch TRANSP@RTAT§@N, uwc.,

Defendant(s].

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COMPLAINT AND DEMAND FUR JURY TRIA.L

Plaintifi`, `MICHAEL EUGENE LOVBLL, by and through the undersigned ath mey, files

this Complaint against the Defendants, LARR‘I CI'IR`ISLDON WILLIAMS and KNIGH'I`

'I`R.ANSPORTATION, INC., and further allogcs:

GENERAL ALLEGA'TIONS

- 1. Tl\is is an action for damages in excess of $15,000.00.

2. At all times material herelo, the Plamti.ff`, M[CHAEL EUGENE LOVELL, was a resident

of Lawtey, Bradfurrl County, Fiorida.

3. At .ail times material hereto, the Dc:f`cndnnl, LARRY CI'IRISLDON WILLIAMS

(hereinaf\er referred m as “Williams"), was a resident of Eclen, Rockingha.m County,

Norlh Carolina.

¢l. At all times material heretu, the Defcndant, KNIGHT TRANSPORTA'[`ION, INC_

(he\:cinaficr referred to as "Knight Transpc:rt'.\tion" , was a foreign corporalion, having its

principal place of businessfofflr:c: in Phoenix, A,rizona.

 

 

 

Case 3:12-Cv-01352-B.]D-.]BT Document 2 Filed 12/13/12 Page 2 of 5 Page|D 24

5. At all times material hereto, Williams owned and/or operated a 2008 Voivo truck,
bearing VIN No.: 4V4WC9JTGL8N496338 (hereinaiier referred to as the "Tn.\clc"), a
Dangerous Instrumentality as provided by Florida Law.

6. At all times material hereto, Knight Transportation owned and/or operated a 2008 Volvo
truclc, bearing VIN No.'. 4V4IVC9JTGL8N496838 (hereinatter rcfelrecl to as the
“Truelc”), a Dangerous Instrumentality as provided by Florida Law.

'7. That the collision giving rise to this litigation occurred on or about November ll, 2011 at
or near Pritchard Road and Directors lload in Iacksonville, Duval County, Florida.

8. On or about November 11, 2011, Williams was operating the Trucl< with the knowledge
and consent of K.night' Transportatjon.

9. On or about November 11, 201\, Willimns was in the course and scope of his
employment with Knight Transportation. v

10. That as employer of Williams, Knight Transporatation is liable to the Plaintiff for the
damages caused by the negligent acts of their employee, Williams, while he is in the
course and scope of his employment with Knight Transportation.

11. That at all times material hereto l)efendant, Williama had a duty to act reasonable and use
due care while driving the Truck. He.had a duty to pay attention to traffic, to maintain a
proper look _out, to obey traffic control dovices, to obey the laws and rules of the State of
Florida, and to maintain a proper distance between vehicles.

12. That Defendant, Williams negligently breached that duty by failing to act reasonable and
use due care while driving the Trucl<. By-failing to pay attention to traffic, failing to

maintain a proper look out, failing to obey the laws and rules of the State of Floricla,

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Case 3:12-Cv-01352-B.]D-.]BT Document 2 Filed 12/13/12 Page 3 of 5 Page|D 25

failing to maintain proper speed for the road conditions, failing to reduce speed to avoid
an accident and failing to maintain a proper distance between vehicles

COUNT l- ACTION AGAINST LARRY CHRISLDON WILLEAMS

 

13. The Plaintifl`. by and through the undersigned attomoy, adopts by reference ali allegations
contained in paragraphs 1 through 12 above, as set forth in full,' pursuant to Rule
l.l30(b), Rulcs of Civil Procedure.

14. On or about November 11, 2011, the Defendant, Williams was negligent in the
maintenance and operation of the Truck wherein Williams caused a collision involving
the 'I`ruck and the vehicle operated by Plaintiff.

15. As a direct and proximate result of the negligence of Williams, Plaintiff suffered bodily
injury and resulting pain and suffering, disability, distigurexnent, mental anguish. loss of
capacity for the enjoyment of life, expense of hospitalization, medical and nursing care
and treatment, loss of earnings, loss of ability to earn money and aggravation of a
previously existing condition. Tlle losses are either permanent or continuing and Plaintil’t`
will suffer the losses in the future. Plaintiff has sustained permanent injuries within a
reasonable degree of medical probability
WlllllERElFORE, MICHABL EUGENE LOVELL, demands judgment against LARRY

cnmsLooN wILL_IAMs a sum in excess or ocean thousand (sis,ooo.oo) dollars
i. For general damages
ii. For special damages ~
iii. Por costs of suit incurred in this action.
iv. For other and further relief as the Court may deem reasonable and proper,

and demands trial by jury on all issues triable of right by jury.

 

Case 3:12-Cv-01352-B.]D-.]BT Document 2 Filed 12/13/12 Page 4 of 5 Page|D 26

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16. The Plaintiff, by and through the undersigned attorney, adopts by reference all allegations
contained in paragraphs l through.l$ above, as set forth in full, pursuant to Rule
1.130(1>), Rules of Civil Procedure.

17. Florida’s Dangerous histrumentality Doctrine imposes strict vicarious liabilily'upon the

' owner of a motor vehicle who voluntarily entrusts that motor vehicle lo an individual
whose negligent operation causes damage to another.

18. The aforesaid negligent acts and omissions of Williams are imputed to the Defendant,
Knight Transportation under the Dangerous lnstrumentallty Doctrine.

19. As the employer of Williams, Knight Transportation is responsible for the acts of its
employee while acting in the course and scope of employment pursuant to the Doctrine of
Respondeat Superlor.

20. As a direct and proximate result of the negligence stated above and hcrein, Plaintiff
su&`ered bodily injury and resulting pain and suffering disability, distigurement, mental
anguish, loss of capacity for the enjoyment of life, expense of hospitalization, medical
and nursing care and treatment, loss of earnings, loss of ability to earn money and
aggravation of a previously`existing condition. 'l'he losses are either permanent or
continuing and Plaintift' will suffer the losses in the future. Plaintiff has sustained
permanent injuries within a reasonable degree of medical probability.

WHEREFORE, MICHAEL EUGENE LOVBLL demands judgment against KNIGHT
'I`RANSPORTATION, INC. a sum in excess of fifteen thousand (315,000.00) dollars:
v. For general damages.

vi. For special damages

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Case 3:12-Cv-01352-B.]D-.]BT Document 2 Filed 12/13/12 Page 5 of 5 Page|D 27

vii. For costs of suit incurred in this action.
viii. For other and further relief as the Court may deem reasonable and proper,
and demands trial byjury on all issues triable of right by jury.

Respectihlly submitted,

  
   

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